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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



  UNITED STATES OF AMERICA,
                                                 Case No. 1:18-cr-00258-BLW
         Plaintiff,
                                                 MEMORANDUM DECISION &
         v.                                      ORDER

  PAVEL BABICHENKO,
  GENNADY BABICHENKO,

         Defendants.



                                   INTRODUCTION

      Before the Court is Defendant Gennady Babichenko’s (“Gennady”) Motion for

Release Pending Trial. Dkt. 164. Defendant Pavel Babichenko (“Pavel”) has also filed a

Motion for Release Pending Trial (Dkt. 165) for the same reasons outlined in Gennady’s

Motion. Both motions are DENIED.

                                   BACKGROUND

      Gennady and Pavel have both filed multiple motions seeking their release pending

trial. Both Gennady and Pavel argued in favor of their release before United States Chief

Magistrate Judge Bush. Despite their arguments, Judge Bush found that the United

States Government had shown “by a preponderance of the evidence that no condition or

combination of conditions of release will reasonably assure the defendant[]s[’]

appearance.” Dkts. 94 & 97. Gennady and Pavel then appealed to United States District


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Court Judge Lodge. Judge Lodge, after conducting a de novo review, denied Gennady’s

and Pavel’s appeal. Dkts. 127 & 128.

                                         ANALYSIS

       The Court has conducted a thorough review of the decisions issued by Judge Bush

and Judge Lodge and agrees with the conclusion of both judges: it is more likely than not

that Pavel and Gennady pose a flight risk regardless of any conditions of release that the

Court could impose.

       The Court has also evaluated the arguments put forth by Gennady’s counsel and

finds that they are insufficient to alter the conclusion that Gennady and Pavel should

remain in custody pending trial. Although the Court has designated this case as complex,

it has stated that it “intends to move this case swiftly to trial” despite the fact “that the

Speedy Trial Act’s typical seventy-day clock does not apply.” Dkt. 162 at 2.

Furthermore, the Court has held and will continue to hold regular conference calls with

the Parties to ensure that the Government quickly and efficiently carries out its discovery

obligations. Although it is likely, given the complexity of the case and the logistics

involved with holding a trial for so many defendants, that the July 29, 2019 trial date will

change, the Court does not intend to allow the date to change significantly absent

extraordinary circumstances.




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                                     ORDER

     IT IS HEREBY ORDERED:

  1. Defendant Gennady Babichenko’s Motion for Release Pending Trial (Dkt. 164) is

     DENIED.

  2. Defendant Pavel Babichenko’s Motion for Release Pending Trial (Dkt. 165) is

     DENIED.



                                            DATED: January 30, 2019


                                            _________________________
                                            B. Lynn Winmill
                                            U.S. District Court Judge




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